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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                       )
STATE OF NEW YORK, et al.,                             )
                                                       )
       Plaintiffs,                                     )        Civil Action No. 1:18-cv-0773
                                                       )
              v.                                       )        Hon. Reggie Walton
                                                       )
U.S. ENVIRONMENTAL PROTECTION                          )
AGENCY, et al.                                         )
                                                       )

                                   JOINT STATUS REPORT

       Pursuant to this Court’s Minute Order of July 29, 2021, Plaintiffs the State of New York

et al. and Defendants the United States Environmental Protection Agency et al. (collectively

“Parties”), hereby provide the following joint status report:

       As EPA previously notified the Court and the Plaintiffs, pursuant to Executive Order No.

13990 the Agency has been working to propose “new regulations to establish . . . emission

guidelines for methane emissions . . . from existing operations in the oil and gas sector, including

the exploration and production, transmission, processing, and storage segments.” ECF No. 106

(emphasis added); see Executive Order on Protecting Public Health and the Environment and

Restoring Science to Tackle the Climate Crisis, 86 Fed. Reg. 7037 § 2(c)(1) (Jan. 25, 2021).

EPA submitted a draft proposed rule to the Office of Management and Budget (“OMB”). OMB

received EPA’s submittal on September 15, 2021. See RIN 2060-AV15 (Emission Guidelines

for Oil and Natural Gas Sector) at https://www.reginfo.gov/public/do/eoReviewSearch. OMB’s

review of that submittal is currently ongoing.

       Because such guidelines are the subject of this litigation, the Parties anticipate that the

proposed regulations will influence how they wish to proceed in this case.

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       The Parties therefore jointly propose the following schedule to govern further

proceedings in this matter:

       EPA shall file a notice within seven days after the proposed regulations are signed and

posted to the Agency’s web site; and

       The Parties shall submit a joint status report advising the Court on how the Parties wish

to proceed in this case by the earlier of 21 days after EPA’s notice regarding the proposed

regulations or December 3, 2021.

                                             Respectfully Submitted,

                                             United States Department of Justice
                                             Environment & Natural Resources Division

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                                CERTIFICATE OF SERVICE

       I, Heather E. Gange, certify that on this 28th day of October 2021, I electronically filed

the foregoing through the CM/ECF system which caused all Parties to be served by electronic

means, as more fully reflected on the Notice of Electronic Filing:



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